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AO 245C (Rev 09/19) Amended Judgment in a Criminal Case (NOTE Identify Changes with Asterisks (*))
Sheet |

UNITED STATES DISTRICT COURT

UNITED STATES OF AMERICA
Vv.
KASSIM TAJIDEEN

AMENDED JUDGMENT IN A CRIMINAL CASE

Case Number: CR 17-46-1 RBW
USM Number: 35117-016

JOHN CONNOLLY ESQ./ PAUL CASSELL ESQ.
Defendant’s Attorney

Date of Original Judgment: — 8/12/2019
(Or Date of Last Amended Judgment)

THE DEFENDANT:
ff pleaded guilty to count(s) _ ELEVEN (11) OF THE SUPERSEDING INDICTMENT

C1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

 

(i was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18 USC 1956(h) CONSPIRACY TO COMMIT MONEY LAUNDERING 3/24/2017 11
The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s)
wf Count(s) ALL REMAINING COUNTS C1 is [Ware dismissed on the motion of the United States.

Itis ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

5/27/2020
Date of Imposition of Judgment

Lege Li Nb

Signature of Judge “
REGGIE B. WALTON
Name and Title of Judge

 

 

US DISTRICT JUDGE

June 4, 2020

 

Date
{i :
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AO 245C (Rev 09/19) Amended Judgment tn a Criminal Case

Sheet 2 — Imprisonment (NOTE Identify Changes with Asterisks (*))
of

Judgment — Page 2

DEFENDANT: KASSIM TAJIDEEN
CASE NUMBER: CR 17-46-1 RBW

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a

total term of :

TIME SERVED

The court makes the following recommendations to the Bureau of Prisons:

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Ol sat _ O am. tL) pm. on
{1  asnotified by the United States Marshal.

 

The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

4 before 2 p.m. on

 

(1 as notified by the United States Marshal.

1 as notified by the Probation or Pretrial Services Office.

RETURN

I have executed this judgment as follows:

at

Defendant delivered on to

 

 

with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

DEPUTY UNITED STATES MARSHAL
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AO 245C (Rev 09/19) Amended Judgment in a Criminal Case

Sheet 3 — Supervised Release (NOTE Identify Changes with Asterisks (*))
Judgment—Page 3 of 5

DEFENDANT: KASSIM TAJIDEEN
CASE NUMBER: CR 17-46-1 RBW

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of :

7.

NO TERM OF SUPERVISED RELEASE IS IMPOSED

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

O
O
O

O

C1 The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
substance abuse. (check if applicable)

You must make restitution in accordance with 18 U.S.C. § 3663 and 3663A or any other statute authorizing a sentence of

restitution. (check if applicable)

You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you

reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
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AO 245C (Rev 09/19) Amended Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties (NOTE Identify Changes with Asterisks (*))

Judgment — Page 4 of 5
DEFENDANT: KASSIM TAJIDEEN
CASE NUMBER: CR 17-46-1 RBW

CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

 

Assessment Restitution Fine AVAA Assessment* JVTA Assessment**
TOTALS $ 100.00 § 0.00 g§ 0.00 $ 0.00 § 0.00
C1 The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
C] The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS $ 0.00 $ 0.00

[] Restitution amount ordered pursuant to plea agreement $

(1 _ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

(_ The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
() the interest requirement is waived for (fine C1 restitution.

(J the interest requirement forthe (1 fine [1 restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornograph Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245C (Rev 09/19) Amended Judgment in a Criminal Case
Sheet 6 — Schedule of Payments (NOTE Identify Changes with Asterisks (*))

Judgment— Page 5 of 5 |

DEFENDANT: KASSIM TAJIDEEN
CASE NUMBER: CR 17-46-1 RBW

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A [1] Lump sum payment of $ due immediately, balance due

[] not later than , or
(] inaccordancewith [7] C, (J D, ({ E,or { F below; or

B  [( Payment to begin immediately (may be combined with [J C, OC D,or CO F below); or

C (C Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E {Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F ( Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
c

Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C1] ‘Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate.

[] The defendant shall pay the cost of prosecution.
{] The defendant shall pay the following court cost(s):

(] The defendant shall forfeit the defendant’s interest in the following property to the United States:
A MONEY JUDGMENT OF $50,000.000.00

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution
and court costs.
